          Case 2:17-cv-02964-JCM-NJK Document 50 Filed 10/08/21 Page 1 of 1




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 4
                              UNITED STATES DISTRICT COURT
 5
                                     DISTRICT OF NEVADA
 6
 7   NUTRI PHARMACEUTICALS
     RESEARCH, INC.                                      Case No.: 2:17-cv-02964-JCM-NJK
 8
            Plaintiff,                                                  Order
 9
     v.                                                            [Docket No. 49]
10
     STAUBER PERFORMANCE
11   INGREDIENTS, INC.,
12          Defendant.
13        Pending before the Court is the parties’ stipulation to continue the Settlement Conference
14 or set status check. Docket No. 49. For good cause shown, the parties’ stipulation is GRANTED.
15 The Settlement Conference currently set for October 18, 2021, is VACATED. The Court SETS
16 a status hearing on settlement for November 16, 2021, at 10:00 a.m. in Courtroom 3C.
17        IT IS SO ORDERED.
18        Dated: October 8, 2021
19                                                            ______________________________
                                                              Nancy J. Koppe
20                                                            United States Magistrate Judge
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